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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

LITTLE MIRACLES INTERNATIONAL, INC.,

         Plaintiff,

v.                                                            Civil Case No. 2:19-cv-00210

JENNIFER GERTH,

         Defendant.

                           JOINT STIPULATION OF DISMISSAL

         Pursuant to FED.R.CIV.P. 41(a)(1)(A)(ii), Little Miracles International, Inc., and

Jennifer Gerth, the parties to the captioned action, hereby stipulate that the same is dismissed,

with all costs of court, expenses, and attorneys= fees paid or to be paid by the party incurring same.

Dated: August 3, 2020


  /s/ Timothy D. Ryan                                  /s/ Jonathan Little        ___________
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                                    ORDER OF DISMISSAL

         Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure
41(a)(1)(A)(ii), IT IS ORDERED THAT THIS ACTION BE, AND HEREBY IS, DISMISSED as
to all claims, causes of action, and parties, with each party bearing that party’s own attorney’s fees
and costs. The Clerk is directed to close the file.

       Dated: ______________________



                                                      ___________________________________




STIPULATION OF DISMISSAL                                                                      PAGE 2
